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                                   91735



                                         EXHIBIT 1
   (Plaintiffs Arguing That Statute of Limitations Runs from Discovery of Product Defect)


                                                        Dkt. No.
      Case No.
                          Plaintiff       Cause Number     of      Position on Discovery Rule
      on Exh. A
                                                        Response
            2          Davis,             1:19-cv-00592  12303   “Plaintiff had no reason to
                       Donald L. &                               believe the Cook filter was the
                       Lynda                                     cause of his injuries because he
                                                                 did not discover that the device
                                                                 was defective until years later.”
            3          Denton,            1:16-cv-01140  12301   “Plaintiff had no reason to
                       Gregory                                   believe the Cook filter was the
                                                                 cause of his injuries because he
                                                                 did not discover that the device
                                                                 was defective until years later.”
            4          Diaz, Leslie       1:19-cv-00122  12299   “Plaintiff had no reason to
                                                                 believe the Cook filter was the
                                                                 cause of her injuries because she
                                                                 did not discover that the device
                                                                 was defective until years later.”
            5          Doukas,            1:16-cv-02822  12307   “Plaintiff had no reason to
                       Marika                                    believe the Cook filter was the
                                                                 cause of her injuries because she
                                                                 did not discover that the device
                                                                 was defective until years later.”
            9          Giddens,           1:16-cv-00996  12304   “[T]he two-year statute of
                       Brian                                     limitations did not begin to run
                                                                 until 2015 when Plaintiff
                                                                 learned about the defects of his
                                                                 previously removed IVC filter
                                                                 and that he had a potential
                                                                 products liability claim.”
           11          Howarth,           1:19-cv-01018  12300   Argues Cook Defendants “have
                       Bailey                                    not performed any discovery or
                                                                 depositions in this case and are
                                                                 unable to establish when
                                                                 plaintiff, Howarth first
                                                                 discovered that it was the
                                                                 product defects in her filter that
                                                                 was the actual cause of her
                                                                 injury”
           13          Kinsey,            1:17-cv-04414  12298   “Mr. Kinsey’s physician never
                       Clayton                                   told him that his injuries,
                                                                 including the removal of the


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                                                       Dkt. No.
      Case No.
                          Plaintiff       Cause Number    of            Position on Discovery Rule
      on Exh. A
                                                       Response
                                                                      Filter, could have been caused
                                                                      by a defect in the IVC Filter
                                                                      product. … It was not until 2016
                                                                      that Mr. Kinsey learned that the
                                                                      Filter was defective, and that
                                                                      this may have been the reason
                                                                      for his injuries.”
           15          Looper,            1:16-cv-03510       12250   “Ms. Looper had no reason to
                       Victoria                                       believe the Cook filter was the
                                                                      cause of her injuries because she
                                                                      did not discover that the device
                                                                      was defective until years later.”
           17          Mobley,            1:19-cv-231         12284   “Ms. Mobley had no reason to
                       Nicky                                          believe the Cook filter was the
                                                                      cause of her injuries because she
                                                                      did not discover that the device
                                                                      was defective until years later.”
           18          Poggensee,         1:17-cv-02675       12305   “[O]nce Mr. Poggensee was
                       Edward                                         aware the cause of his injury
                                                                      was the defective
                                                                      Cook IVC Filter, he filed suit in
                                                                      a timely fashion for both Iowa
                                                                      and Indiana’s two-year statute
                                                                      of
                                                                      limitations.”
           21          Snider, Jason      1:17-cv-03614       12248   “Plaintiff was not aware and did
                       R.                                             not discover that Cook
                                                                      Defendants’ IVC filter might
                                                                      have been defective until mid to
                                                                      late 2016.”
           22          Sowards,           1:16-cv-02122       12295   “Based on the news article,
                       Steven                                         Plaintiff for the first time had
                                                                      reason to believe or suspect that
                                                                      Cook’s IVC filter might have
                                                                      been defective.”
           24          Wilson,            1:18-cv-02069       12236   “Ms. Wilson had no reason to
                       Monica                                         believe the Cook filter was the
                                                                      cause of her injuries because she
                                                                      did not discover that the device
                                                                      was defective until years later.”




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